Case:11-02019-HRT Doc#:40 Filed:08/12/14                 Entered:08/12/14 12:23:36 Page1 of 10



                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO
                                Honorable Howard R. Tallman

 In re:                                            )
                                                   )
 RICHARD KOPCHO and                                ) Case No. 11-35850 HRT
 NANCY KOPCHO,                                     ) Chapter 7
                                                   )
 Debtors.                                          )
                                                   )
                                                   )
 STEWARD SOFTWARE COMPANY,                         ) Adversary No. 11-2019 HRT
 LLC,                                              )
                                                   )
 Plaintiff,                                        )
                                                   )
 v.                                                )
                                                   )
 RICHARD KOPCHO,                                   )
                                                   )
 Defendant.                                        )

                     ORDER ON MOTIONS FOR SUMMARY JUDGMENT

        This case comes before the Court on Plaintiff’s Motion for Summary Judgment
 (docket #18) and Defendant’s Amended Motion for Summary Judgment and Brief in Support
 Thereof (docket #33).

                                              I. FACTS

        In the case of Steward Software Co., LLC v. Kopcho, 266 P.3d 1085 (Colo. 2011), the
 Colorado Supreme Court described the background of the parties’ dispute as follows:

                  Steward Software hired Kopcho, who initially acted through a number of
          different corporate entities and later acted only through Holonyx, Inc., to develop
          and market a new software program. Steward Software never entered into a
          written agreement governing the ownership of the software with Holonyx,
          Kopcho, or any of Kopcho’s previous corporations. Kopcho and Steward
          Software did, however, exchange many emails discussing ownership of the
          software that Kopcho was developing.

                  By the time the software was ready for initial testing, the relationship
          between the parties had become strained. Steward Software refused to make
          further payments and, at Kopcho’s direction, Holonyx locked Steward Software
          out of the software code and refused to turn the code over to Steward Software.
Case:11-02019-HRT Doc#:40 Filed:08/12/14                Entered:08/12/14 12:23:36 Page2 of 10



 ORDER ON MOTIONS FOR SUMMARY JUDGMENT
 Adversary No. 11-2019 HRT


        Holonyx then filed a copyright registration for the software with the United States
        Copyright Office, listing as the software’s author a new corporation that Kopcho
        controlled called Ruffdogs Software, Inc.

                Steward Software [sued] Holonyx and Kopcho . . . for, among other
        claims, breach of contract, breach of fiduciary duty, and civil theft. All of these
        claims arise under Colorado law. In its claim for theft, Steward Software alleged
        that defendants “unlawfully exercis[ed] dominion and control of the Property
        without authorization.” The complaint defined “the Property” as “the software as
        well as [a website and associated domain names], the source code, the object
        code, all software documentation, [certain marketing materials] for which it ha[d]
        paid and the associated intellectual property rights.” In their answer, defendants
        asserted, among other affirmative defenses, that they owned the software. They
        also counterclaimed for breach of contract against Steward Software.

 Id. at 1086.

         Thereafter, on December 10, 2013, the District Court, Larimer County, Colorado (the
 “State Court”), entered judgment in favor of the Plaintiff and against the Defendant on the
 Plaintiff’s civil theft claim in Case No. 07 CV 831, as follows:

        1.      Judgment is hereby entered in favor of Steward Software Company, LLC and
                against Defendant Richard Kopcho on its civil theft claim in the amount of
                $168,025.

        2.      Judgment is hereby entered in favor of Steward Software Company, LLC and
                against Defendant Richard Kopcho for statutory damages pursuant to C.R.S. § 18-
                4-405 in the amount of $336,050.

        3.      Interest on the damages for civil theft accrue at the statutory rate beginning July
                12, 2007, which is in the amount of $106,089.94 as of November 15, 2013.

        4.      Interest on the statutory damages shall accrue from July 14, 2009, which is in the
                amount of $133,668.13 as of November 15, 2013.

         The above referenced judgments were entered following a full jury trial on the merits of
 the Plaintiff’s complaint in the State Court as well as appellate proceedings in the Colorado
 Court of Appeals and the Colorado Supreme Court.




                                            Page 2 of 10
Case:11-02019-HRT Doc#:40 Filed:08/12/14                 Entered:08/12/14 12:23:36 Page3 of 10



 ORDER ON MOTIONS FOR SUMMARY JUDGMENT
 Adversary No. 11-2019 HRT


                                          II. DISCUSSION

         Plaintiff seeks a declaration by this Court that its judgments against the Defendant are
 nondischargeable under 11 U.S.C. § 523(a). Both parties have filed motions for summary
 judgment. “The court shall grant summary judgment if the movant shows that there is no
 genuine dispute as to any material fact and the movant is entitled to judgment as a matter of
 law.” FED. R. CIV. P. 56.1 The record before the Court consists of proceedings between the
 parties in the State Court. The narrow issue before the Court is whether, under principles of
 collateral estoppel, the Defendant is precluded from denying the nondischargeability of the
 Plaintiff’s civil theft judgments. He is.

                In determining the preclusive effect of a state court judgment, the full faith
        and credit statute, 28 U.S.C. § 1738, directs a federal court to refer to the
        preclusion law of the State in which judgment was rendered. Issue preclusion is a
        judicially created, equitable doctrine that bars the relitigation of an issue that has
        been previously decided in another proceeding. It is designed to relieve parties of
        multiple lawsuits, conserve judicial resources, and promote reliance on the
        judicial system by preventing inconsistent decisions.

 In re Hauck, 489 B.R. 208, 213 (D. Colo. 2013) (citations and quotations marks omitted).

        Because the judgment that Plaintiff relies on was rendered by a Colorado district court,
 Colorado’s law of collateral estoppel is applicable. In Colorado, re-litigation of an issue is
 precluded where:

        1.       The issue precluded is identical to an issue actually litigated and necessarily
                 adjudicated in the prior proceeding;
        2.       The party against whom estoppel was sought was a party to or was in privity with
                 a party to the prior proceeding;
        3.       There was a final judgment on the merits in the prior proceeding;
        4.       The party against whom the doctrine is asserted had a full and fair opportunity to
                 litigate the issues in the prior proceeding.

 Bebo Const. Co. v. Mattox & O’Brien, P.C., 990 P.2d 78, 84-85 (Colo. 1999).

          Of those four elements, the first – whether the issue decided in the prior case is identical
 to the issue sought to be precluded in the subsequent case – is the only one that merits any
 discussion. On the face of the plethora of judicial opinions rendered in the course of the parties’
 litigation, it is clear that the Defendant was a party to the prior litigation (factor #2); a final


        1
            Made applicable to this proceeding by FED. R. BANKR. P. 7056.

                                             Page 3 of 10
Case:11-02019-HRT Doc#:40 Filed:08/12/14               Entered:08/12/14 12:23:36 Page4 of 10



 ORDER ON MOTIONS FOR SUMMARY JUDGMENT
 Adversary No. 11-2019 HRT


 judgment has been entered on the merits of the civil theft claim (factor #3); and the Defendant
 took full advantage of his opportunity to litigate (factor #4).

         The Plaintiff seeks a declaration of nondischargeability under either or both 11 U.S.C.
 §§ 523(a)(4) or 523(a)(6). The Court must render judgment for the Plaintiff if it finds the debt
 the Defendant owes to the Plaintiff was incurred either “for fraud or defalcation while acting in a
 fiduciary capacity, embezzlement, or larceny,” 11 U.S.C. § 523(a)(4), or “for willful and
 malicious injury by the debtor to another entity or to the property of another entity.” 11 U.S.C.
 § 523(a)(6).

 A. Embezzlement under 11 U.S.C. § 523(a)(4).

        Necessary to the State Court’s judgment that the Debtor had committed civil theft is a
 finding that he was guilty of theft under Colorado’s criminal statutes. Itin v. Ungar, 17 P.3d 129,
 133 (Colo. 2000) (“[T]he General Assembly intended for this statute to require proof of the
 commission of a criminal act . . . .”). The State Court’s necessary finding that Defendant
 committed theft under Colorado’s criminal statute – based on a jury verdict – precludes the
 Defendant from denying he has committed larceny or embezzlement under 11 U.S.C.
 § 523(a)(4).

        Theft, under Colorado law, is defined as follows:

        A person commits theft when he or she knowingly obtains, retains, or exercises
        control over anything of value of another without authorization or by threat or
        deception; or receives, loans money by pawn or pledge on, or disposes of
        anything of value or belonging to another that he or she knows or believes to have
        been stolen, and:
        (a)     Intends to deprive the other person permanently of the use or benefit of the thing
                of value;
        (b)     Knowingly uses, conceals, or abandons the thing of value in such manner as to
                deprive the other person permanently of its use or benefit;
        (c)     Uses, conceals, or abandons the thing of value intending that such use,
                concealment, or abandonment will deprive the other person permanently of its use
                or benefit;
        (d)     Demands any consideration to which he or she is not legally entitled as a
                condition of restoring the thing of value to the other person; or
        (e)     Knowingly retains the thing of value more than seventy-two hours after the
                agreed-upon time of return in any lease or hire agreement.

 COLO. REV. STAT. § 18-4-401.



                                            Page 4 of 10
Case:11-02019-HRT Doc#:40 Filed:08/12/14               Entered:08/12/14 12:23:36 Page5 of 10



 ORDER ON MOTIONS FOR SUMMARY JUDGMENT
 Adversary No. 11-2019 HRT


         Two elements are required to constitute theft under Colorado law. The first element goes
 to conduct – exercising control over property of another without authorization. The second
 element goes to the result of the conduct – permanently depriving the owner of the use or benefit
 of the property. The statute prescribes a state of mind for each of the elements. The actor must
 knowingly exercise control over the property to satisfy the first element. To satisfy the second
 element, at minimum, the actor must knowingly act in such a way as to deprive the owner of the
 use or benefit of the property.2 Under the Colorado criminal statutes, the criminal state of mind
 expressed as “‘knowingly’ or ‘willfully.’” is defined as follows

        A person acts “knowingly” or “willfully” with respect to conduct or to a
        circumstance described by a statute defining an offense when he is aware that his
        conduct is of such nature or that such circumstance exists. A person acts
        “knowingly” or “willfully”, with respect to a result of his conduct, when he is
        aware that his conduct is practically certain to cause the result.

 COLO. REV. STAT. § 18-1-501.

        Thus the judgment rendered against the Defendant in the State Court represents a
 conclusive adjudication that the Defendant was aware that he was exercising control over
 property owned by the Plaintiff and that acted in a manner that he knew was practically certain
 to permanently deprive the Plaintiff of its property.

         There are three bases for a finding of nondischargeability under § 523(a)(4): 1) “fraud or
 defalcation while acting in a fiduciary capacity;” 2) “embezzlement;” or 3) “larceny.” The State
 Court proceeding that the Plaintiff relies on does not establish the kind of express fiduciary
 capacity required for nondischargeability on account of “fraud or defalcation while acting in a
 fiduciary capacity.”3 For nondischargeability on account either of “embezzlement” or “larceny”
 the Court looks to the common law for elements of those crimes.




        2
           Section 18-4-401(1)(a) thru (e) describe multiple ways in which the second element of
 the crime may be satisfied. Subsections (a) and (c) require intentional conduct; subsections (b)
 and (e) require knowing conduct. Subsection (d) appears not to require proof of a state of mind
 to satisfy the second element of the crime under those particular circumstances.
        3
           The Court cannot say that such a fiduciary relationship was not contractually present in
 this case. But fiduciary capacity was not an essential element of the State Court’s civil theft
 judgment.

                                            Page 5 of 10
Case:11-02019-HRT Doc#:40 Filed:08/12/14               Entered:08/12/14 12:23:36 Page6 of 10



 ORDER ON MOTIONS FOR SUMMARY JUDGMENT
 Adversary No. 11-2019 HRT


         “For purposes of establishing nondischargeability under section 523(a)(4),
 embezzlement4 is defined under federal common law as ‘the fraudulent appropriation of property
 by a person to whom such property has been entrusted or into whose hands it has lawfully
 come.’” Klemens v. Wallace (In re Wallace), 840 F.2d 762, 765 (10th Cir. 1988) (citations
 omitted). “This definition breaks down into five elements: 1. Entrustment (property lawfully
 obtained originally); 2. Of property; 3. Of another; 4. That is misappropriated (used or consumed
 for a purpose other than that for which it was entrusted); 5. With fraudulent intent.” Bryant v.
 Tilley (In re Tilley), 286 B.R. 782, 789 (Bankr. D. Colo. 2002). “Embezzlement, for purposes of
 11 U.S.C. § 523 ... ‘requires fraud in fact, involving moral turpitude or intentional wrong, rather
 than implied or constructive fraud.’” In re Black, 787 F.2d 503, 507 (10th Cir. 1986) (quoting
 American Family Insurance Group v. Gumieny (In re Gumieny), 8 B.R. 602, 605 (Bankr. E.D.
 Wis. 1981)).

         The State Court entered judgment against the Defendant for theft as it is defined under
 Colorado statutory law. Colorado’s statute is a consolidated theft statute that no longer
 recognizes the common law distinctions between larceny and embezzlement. Roberts v. People,
 203 P.3d 513, 516 (Colo. 2009) (en banc) (“Colorado is among the substantial majority of states
 that have consolidated the crimes of larceny, embezzlement, and theft under false pretenses in a
 single crime of theft.”).

         The facts established in the state proceedings show that Defendant lawfully possessed the
 software code that the State Court jury found he had stolen from the Plaintiff. He had been hired
 to develop and market the computer software for the Plaintiff and the civil theft verdict in the
 State Court establishes conclusively that the software code was the property of the Plaintiff. It
 also establishes conclusively that he misappropriated the code contrary to the Plaintiff’s legal
 rights and contrary to the parties’ agreement.

         Finally, the “knowing” state of mind required under Colorado’s theft statute satisfies the
 element of fraudulent intent necessary to find embezzlement under 11 U.S.C. § 523(a)(4). At
 common law, the term fraudulent did not, as might be supposed, refer to an act accomplished
 through misrepresentation or deceit. To the contrary, it indicated a more general scienter or
 guilty knowledge. See BLACK’S LAW DICTIONARY 672 (7th ed. 1999) (defining “fraudulent act”
 as “[c]onduct involving bad faith, dishonesty, a lack of integrity or moral turpitude.” The First
 Circuit explained in Sherman v. Potapov (In re Sherman), 603 F.3d 11 (1st Cir. 2010),


        4
          The Court will not discuss larceny. Under common law – applicable to
 nondischargeability for larceny or embezzlement under § 523(a)(4) – the difference between
 larceny and embezzlement “is that with embezzlement, the debtor initially acquires the property
 lawfully, whereas larceny requires that the funds originally come into the debtor’s hands
 unlawfully.” In re Ghaemi, 492 B.R. 321, 325 (Bankr. D. Colo. 2013). The facts of this case do
 not imply a taking that was initially unlawful.

                                            Page 6 of 10
Case:11-02019-HRT Doc#:40 Filed:08/12/14               Entered:08/12/14 12:23:36 Page7 of 10



 ORDER ON MOTIONS FOR SUMMARY JUDGMENT
 Adversary No. 11-2019 HRT


        [T]o amount to embezzlement, conversion must be committed by a perpetrator
        with fraudulent intent, and the question is whether the bankruptcy court found it
        on [the defendant’s] part. Young is helpful . . . in its example of embezzlement by
        using entrusted money for the recipient’s own purposes in a way he knows the
        entrustor did not intend or authorize. It is knowledge that the use is devoid of
        authorization, scienter for short . . . that makes the conversion fraudulent and thus
        embezzlement, and it is just this knowledge that the bankruptcy court found that
        [the defendant] had as a participant in the conversion.

 Id. at 13 (citing United States v. Young, 955 F.2d 99, 102 (1st Cir. 1992); Palmacci v.
 Umpierrez, 121 F.3d 781, 786 (1st Cir. 1997).5 The focus for a finding of fraudulent intent under
 the common law was upon the perpetrator’s knowledge of the wrongfulness of his act. It is the
 Defendant’s knowledge that he exercised control over the Plaintiff’s software code without
 authorization and his knowledge that his act was practically certain to permanently deprive the
 Plaintiff of its software code that were necessary findings for the State Court jury to find the
 Defendant liable for civil theft.

         Even though Colorado’s unified theft statute uses more modern statutory language and
 the crimes of larceny and embezzlement referred to in 11 U.S.C. § 523(a)(4) have common law
 roots, the issues that underpin civil theft, for which the Defendant was found liable in a Colorado
 State Court, are sufficient to establish the Defendant’s liability for embezzlement under the
 Bankruptcy Code. The issues are identical for purposes of the application of collateral estoppel.
 The Court easily finds that, under Colorado’s collateral estoppel rules, the Defendant must be
 estopped from once again litigating the issue of whether or not he stole the Plaintiff’s software
 code. He has had his day in court – quite a number of them in fact – and the matter has been
 conclusively determined in the State Court.




        5
           A division of this Court has held that a complaint alleging larceny or embezzlement
 under 11 U.S.C. § 523(a)(4) fails to state a claim for relief where it fails to allege facts that
 constitute actual fraud. Tague & Beem v. Tague (In re Tague), 137 B.R. 495 (Bankr. D. Colo.
 1991). However, in Bryant v. Lynch (In re Lynch), 315 B.R. 173 (Bankr. D. Colo. 2004), Judge
 Brown explained that the fraudulent intent element of larceny under the common law for
 purposes of 11 U.S.C. § 523(a)(4) is not the same as fraud under 11 U.S.C. 523(a)(2). Id. at 181.
 In Lynch, Judge Brown found that the fraudulent intent required to prove embezzlement or
 larceny under § 523(a)(4) is an “intent to steal” and that a conviction under Colorado’s unified
 theft statute is sufficient to establish such intent. Id. More recently, in Martin v. Hauck (In re
 Hauck), 466 B.R. 151 (Bankr. D. Colo. 2012) Judge Brooks held that liability under Colorado’s
 theft statute was sufficient to preclude the defendants from denying liability under 11 U.S.C.
 § 523(a)(4) for embezzlement or larceny. Id. at 166.

                                            Page 7 of 10
Case:11-02019-HRT Doc#:40 Filed:08/12/14                Entered:08/12/14 12:23:36 Page8 of 10



 ORDER ON MOTIONS FOR SUMMARY JUDGMENT
 Adversary No. 11-2019 HRT


 B. Willful and Malicious Injury under 11 U.S.C. § 523(a)(6)

         Upon request by the injured party, the Court must deny discharge of any debt for “for
 willful and malicious injury by the debtor to another entity or to the property of another entity.”
 11 U.S.C. § 523(a)(6). Thus, a debt that is nondischargeable under § 523(a)(6) must be incurred
 both wilfully and maliciously.

          The willfulness prong of § 523(a)(6) was addressed in the case of Kawaauhau v. Geiger,
 523 U.S. 57 (1998). The plaintiff had sought medical treatment for an injury to her foot but
 suffered an amputation of her leg due to the defendant’s medical malpractice. She sought to
 have the defendant physician’s liability for her injury declared nondischargeable under
 § 523(a)(6). Because liability for medical malpractice is premised on negligent or reckless
 conduct, not on intentional conduct, the Eighth Circuit Court of Appeals found the defendant’s
 liability to be dischargeable. The Supreme Court affirmed. Id. at 60. Geiger stands for the
 principal that to establish the willfulness element under § 523(a)(6) “takes a deliberate or
 intentional injury, not merely a deliberate or intentional act that leads to injury.” Id. at 61. The
 actor must “intend ‘the consequences of an act,’ not simply ‘the act itself.’” Id. at 61-62
 (quoting RESTATEMENT (SECOND) OF TORTS § 8A, Comment a, p. 15 (1964)).

         “Willful injury may be established by direct evidence of specific intent to harm a creditor
 or the creditor’s property. Willful injury may also be established indirectly by evidence of both
 the debtor’s knowledge of the creditor’s . . . rights and the debtor’s knowledge that the conduct
 will cause particularized injury.” Mitsubishi Motors Credit of America, Inc. v. Longley (In re
 Longley), 235 B.R. 651, 657 (B.A.P. 10th Cir. 1999).

         As the Court noted above, the judgment rendered against the Defendant in the State
 Court represents a conclusive adjudication that the Defendant was aware that he was exercising
 control over property owned by the Plaintiff and that he acted in a manner that he knew was
 practically certain to permanently deprive the Plaintiff of its property. That is precisely the
 indirect evidence of intent to injure, in satisfaction of § 523(a)(6)’s willfulness prong, that the
 Bankruptcy Appellate Panel refers to in Longley. 235 B.R. at 657.

        In addition to willful injury, § 523(a)(6) also requires a showing of malice. The malice
 prong of § 523(a)(6) is satisfied upon a showing the injury was inflicted without just cause or
 excuse. See, e.g., Tinker v. Colwell, 193 U.S. 473, 485-86 (1904); Kuhn v. Driver (In re Driver),
 305 B.R. 266, 268 (Bankr. N.D. Tex. 2003); Johnson v. Wood (In re Wood), 303 B.R. 370, 373
 (Bankr. C.D. Ill. 2003); Beckett v. Bundick (In re Bundick), 303 B.R. 90, 109 (Bankr. E.D. Va.
 2003); Neshewat v. Salem (In re Salem), 290 B.R. 479, 485 (S.D. N.Y. 2003); McAlister v.
 Slosberg, 225 B.R. 9, 21 (Bankr. D. Me. 1998).

        The malice prong of § 523(a)(6) does not require a finding that the Defendant was
 motivated by spite or hatred. See, e.g., Old Republic National Title Insurance Co. v. Levasseur

                                             Page 8 of 10
Case:11-02019-HRT Doc#:40 Filed:08/12/14                Entered:08/12/14 12:23:36 Page9 of 10



 ORDER ON MOTIONS FOR SUMMARY JUDGMENT
 Adversary No. 11-2019 HRT


 (In re Levasseur), 737 F.3d 814, 818 (1st Cir. 2013); Maxfield v. Jennings (In re Jennings), 670
 F.3d 1329, 1334 (11th Cir. 2012); Ball v. A.O. Smith Corp., 451 F.3d 66, 69 (2nd Cir. 2006).
 Malice may be implied “by the acts and conduct of the debtor in the context of [the] surrounding
 circumstances. . . . ” St. Paul Fire & Marine Ins. Co. v. Vaughn (In re Vaughn), 779 F.2d 1003,
 1010 (4th Cir. 1985) (explaining that the implied malice standard delineated in Tinker v. Colwell,
 under the Bankruptcy Act, carried through to the new Bankruptcy Code).

         Malice is established here by the nature of the Defendant’s act. He was found liable in
 the State Court for stealing property with a value in excess of $100,000.00. A court might not be
 able to infer malice from a willful act that is far less consequential. But here, the inherent
 wrongfulness of the Defendant’s theft, as found in the State Court, allows the Court to infer the
 Defendant’s malice. Conviction under Colorado’s criminal law for a theft in excess of a value of
 $100,000.00 is categorized as a class 3 felony, COLO. REV. STAT. § 18-4-401, punishable by a
 prison term of four to twelve years. COLO. REV. STAT. § 18-1.3-401(1)(a)(V)(A). The felonious
 nature of the Defendant’s act allows the Court to infer malice that satisfies the malice prong of
 § 523(a)(6).

         Because the issues of willful and malicious injury under 11 U.S.C. § 523(a)(6) have been
 litigated in the State Court and conclusively determined in that court, the Defendant is precluded,
 under the doctrine of collateral estoppel, from denying liability under § 523(a)(6).

                                         III. CONCLUSION

         “Collateral estoppel, like the related doctrine of res judicata, has the dual purpose of
 protecting litigants from the burden of relitigating an identical issue with the same party or his
 privy and of promoting judicial economy by preventing needless litigation.” Parklane Hosiery
 Co., Inc. v. Shore, 439 U.S. 322, 326 (1979). Plaintiff and Defendant have been litigating the
 issue of the Defendant’s theft of the Plaintiff’s software code since 2007. They have appeared
 before the District Court of Larimer County; the Colorado Court of Appeals; and the Colorado
 Supreme Court. In a case such as this, where a federal court is asked to review issues that have
 been fully litigated and decided in a state court, the proper application of the doctrine of
 collateral estoppel also serves the interests of federalism and comity so that federal trial courts
 are not acting in the role of de facto courts of appeal.

         To the extent that this case presents any real issue at all, it is concerning the question of
 whether the State Court judgment settled issues identical to the issues involved in this
 dischargeability proceeding. The other collateral estoppel elements are clearly satisfied.
 Because the doctrine of collateral estoppel goes to individual issues decided in the State Court
 and not the claims asserted there, the fact that the State Court addressed a civil theft claim under
 state law and this Court is addressing federal bankruptcy dischargeability claims makes no
 difference. What matters is that the issues that were decided in the State Court and that underpin


                                             Page 9 of 10
Case:11-02019-HRT Doc#:40 Filed:08/12/14                Entered:08/12/14 12:23:36 Page10 of 10



 ORDER ON MOTIONS FOR SUMMARY JUDGMENT
 Adversary No. 11-2019 HRT


 its ultimate judgment on the civil theft claim satisfy all of the elements necessary for the Court to
 decide the dischargeability claims. Therefore, it is

          ORDERED that Plaintiff’s Motion for Summary Judgment (docket #18) is GRANTED.
 It is further

       ORDERED that Defendant’s Amended Motion for Summary Judgment and Brief in
 Support Thereof (docket #33) is DENIED. It is further

         ORDERED that the judgment entered by the District Court, Larimer County, Colorado,
 in favor of the Plaintiff and against the Defendant on the Plaintiff’s civil theft claim in Case No.
 07 CV 831 is a nondischargeable debt in this bankruptcy proceeding under 11 U.S.C.
 §§ 523(a)(4) and 523(a)(6).
                    12thday of August, 2014.
        Dated this _____

                                                       BY THE COURT:


                                                       _________________________________
                                                       _ _____________________________
                                                       __
                                                       Howard
                                                       H     dRR. T
                                                                  Tallman,
                                                                     ll    Judge
                                                                           J d
                                                       United States Bankruptcy Court




                                            Page 10 of 10
